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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                           )            Chapter 11
                                                                 )
MIAMI METALS I, INC., et al.1                                    )            Case No. 18-13359 (shl)
                                                                 )
                                  Debtors.                       )            (Jointly Administered)
                                                                 )
                                                                              RELATED DOC. NO. 706

                               DEBTORS' SECOND NOTICE OF
                         PROPOSED SALE OF PROPERTY OF THE ESTATE
                                     (Remaining Assets)

           Miami Metals I, Inc., et al., as debtors and debtors in possession (collectively, the

"Debtors"), by and through undersigned counsel and pursuant to this Court's Order Granting

Debtors' Amended Motion to Sell Remaining Assets of the Estate Free and Clear of All Liens,

Claims, Rights, Title, Interests and Encumbrances Pursuant to 11 U.S.C. § 363 (the "Sale

Order") [ECF No. 706]2, hereby give notice of their interest to sell certain Remaining Assets, as

set forth below:


1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, include:
Miami Metals I, Inc. (f/k/a Republic Metals Refining Corporation), 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194); Miami Metals II, Inc. (f/k/a Republic Metals Corporation), 12900 NW 38th Avenue, Miami, FL 33054 (4378);
Miami Metals III LLC (f/k/a Republic Carbon Company), LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833);
Miami Metals IV LLC (f/k/a J & L Republic LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7604); Miami Metals V LLC
(f/k/a R & R Metals, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (7848); Miami Metals VI (f/k/a RMC Diamonds, LLC),
12900 NW 38th Avenue, Miami, FL 33054 (1507); Miami Metals VII (f/k/a RMC2, LLC, 12900 NW 38th Avenue, Miami, FL
33054 (4696); Miami Metals VIII (f/k/a Republic High Tech Metals, LLC), 13001 NW 38 Avenue, Miami, FL 33054 (6102),
12900 NW 38th Avenue, Miami, FL 33054 (1507); Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu
District, Shanghai, P.R. 200001 China (1639); and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5,
Local 409, Centro Joyero Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).

2
    Defined terms from the Sale Order are incorporated by reference herein.

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A.       Silver

         1.       Remaining Asset(s): 77,617.32 oz pure silver.

         2.       Sale Price: spot price (Local Miami), less $.145/oz. to cover shipping costs.

         3.       Payment Terms: Payment will be made within 10 days of shipment.

         4.       Refining or Processing Fees and Charges: None.

         5.       Date of Sale, Delivery, or Settlement:        Approximately two (2) days after

expiration of the objection period under this Notice.

         6.       Debtors' estimate of good faith allocation: 100% to silver.

B.       Gold

         1.       Remaining Asset(s): 142.85 oz pure gold.

         2.       Sale Price: spot price (Local Miami), less $1.38/oz. to cover shipping costs

         3.       Payment Terms: Payment will be made within ten (10) days of shipment.

         4.       Refining or Processing Fees and Charges: None.

         5.       Date of Sale, Delivery, or Settlement:        Approximately two (2) days after

expiration of the objection period under this Notice.

         6.       Debtors' estimate of good faith allocation: 100% to gold.

C.       Platinum

         1.       Remaining Asset(s): 163.39 oz platinum.

         2.       Sale Price: spot price (Local Miami), less $1.23/oz. to cover shipping costs.

         3.       Payment Terms: Payment will be made within ten (10) days of shipment.

         4.       Refining or Processing Fees and Charges: treatment costs of $1,575 and metal

retention charge of 1.5%.




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         5.    Date of Sale, Delivery, or Settlement:        Approximately two (2) days after

expiration of the objection period under this Notice.

         6.    Debtors' estimate of good faith allocation: 100% to platinum.

D.       Ruthenium

         1.    Remaining Asset(s): 24.86 oz ruthenium.

         2.    Sale Price: spot price (Local Miami), less $1.38/oz. to cover shipping costs

         3.    Payment Terms: Payment will be made within ten (10) days of shipment.

         4.    Refining or Processing Fees and Charges: treatment costs of $1,050 and metal

retention charge of 1.5%.

         5.    Date of Sale, Delivery, or Settlement:        Approximately two (2) days after

expiration of the objection period under this Notice.

         6.    Debtors' estimate of good faith allocation: 100% to ruthenium.

E.       Impure Bars

         1.    Remaining Asset(s): 462.1 kg (54.7 kg gold; 400.6 kg silver; 42.3 kg platinum;

4.5 kg palladium).

         2.    Sale Price: spot price (Local Miami), less $16.23/kg to cover shipping costs

         3.    Payment Terms: Payment will be made within thirty (30) days of shipping.

         4.    Refining or Processing Fees and Charges: treatment costs of $35,000 and

metal retention charge of .75%.

         5.    Date of Sale, Delivery, or Settlement:        Approximately two (2) days after

expiration of the objection period under this Notice.

         6.    Debtors' estimate of good faith allocation: 11.8% to gold; 86.7% to silver; .5%

to platinum; 1.0% to palladium.




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         Pursuant to the Sale Order, interested parties shall have five (5) business days from

the date of this Notice to file an Objection hereto. Any Objection must (a) be in writing, (b)

set forth the precise nature of the Objection, and (c) be filed with the Court and served via U.S.

Mail upon the Debtors, on or before the Objection Deadline. If an Objection is filed, the Debtors

will request the Court schedule a hearing on the Objection.

         If no timely Objection is filed and served with respect to this Notice, then without further

order of the Court, the Debtors shall be authorized to sell the subject Remaining Asset(s) on the

terms proposed above.

Dated: April 17, 2019
                                                      AKERMAN LLP

                                                      By:    /s/Katherine C. Fackler
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                                                                            -and-

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                                                      Counsel for Debtors and Debtors-in-Possession




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